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       Pages]
  11
  12                                UNITED STATES DISTRICT COURT
  13                              CENTRAL DISTRICT OF CALIFORNIA
  14
         IN RE: NATIONAL FOOTBALL                ) Case No. 2:15-ml-02668−PSG (JEMx)
  15     LEAGUE’S “SUNDAY TICKET”                )
  16     ANTITRUST LITIGATION                    ) THE NFL’S EX PARTE
         ______________________________          ) APPLICATION FOR STAY OF
  17                                             ) COURT ORDER PENDING
  18     THIS DOCUMENT RELATES TO:               ) RESOLUTION OF
         ALL ACTIONS                             ) FORTHCOMING OBJECTIONS
  19                                             )
  20                                             ) Magistrate Judge: Hon. John E.
                                                 ) McDermott
  21                                             )
  22                                             ) Discovery Cutoff Date: 8/5/2022
                                                 ) Pre-trial Conference Date: 2/9/2024
  23                                             ) Trial Date: 2/22/2024
  24                                             )

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   1                                        EX PARTE APPLICATION
   2           Pursuant to Local Rule 7-19, Defendants National Football League and NFL
   3   Enterprises LLC (“the NFL”) respectfully make this ex parte application to stay the
   4   Court’s July 22, 2022 Order pending resolution of the NFL’s forthcoming Objections
   5   to that Order pursuant to Federal Rule of Civil Procedure 72 and Local Rule 72-2.1.
   6           On July 22, 2022, prior to argument on the issue, this Court granted Plaintiffs’
   7   motion to compel additional discovery relating to the
   8                                                            , requiring the NFL to conduct
   9   multiple burdensome custodial productions on incredibly short timelines, and to
  10   present an additional witness for deposition, all after the Court-ordered deadline for
  11   fact discovery in this case. The first such custodial production was ordered to be
  12   made within 15 days of the Order, i.e., by August 8, 2022, in the midst of
  13                    .    The documents at issue are highly commercially sensitive, and
  14   collection, review, and production thereof in the timeframe set forth in the Court’s
  15   Order would be unduly burdensome, particularly given that (i) the parties are
  16   scheduled to depose eight witnesses during the same time frame and (ii) any
  17   production would be made after all current NFL employees have been deposed,
  18   obviating any time sensitivity associated with the ordered production.                               See
  19   Declaration of Jeremy S. Barber in Support of the NFL’s Ex Parte Application to
  20   Stay Court Order (“Barber Declaration”), ¶¶ 5–10.
  21           Within fourteen days of the Court’s Order, and as soon as practicable, the NFL
  22   intends to file objections to the Order pursuant to Federal Rule of Civil Procedure 72
  23   and Local Rule 72-2.1. See Barber Declaration, ¶ 11. Because compliance with the
  24   Order within the timeframe set forth therein would effectively moot any request for
  25   review of the Order by Judge Gutierrez, the NFL respectfully requests the Court to
  26   stay its July 22, 2022 Order pending resolution of the NFL’s forthcoming objections.
  27   See Alvarez v. Larose, 2020 WL 5632659, at *2 (S.D. Cal. Sept. 21, 2020) (staying
  28   order because compliance “by the existing deadline . . . might preclude the district
                                                     1
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   1   judge’s ability to review Respondents’ anticipated Rule 72 objection, which would
   2   effectively deprive Respondents of their right to reconsideration of the Discovery
   3   Order by the district judge altogether”).
   4           Pursuant to Local Rule 7-19.1, counsel for the NFL gave notice of the instant
   5   ex parte application by way of a telephone call with counsel for Plaintiffs on July 25,
   6   2022.      Barber Declaration, ¶ 12.            Counsel for Plaintiffs later indicated their
   7   opposition to the instant motion. Id.
   8                                        PROCEDURAL HISTORY
   9           Fact discovery in this case closes on August 5, 2022. See Order Granting
  10   Plaintiffs’ Motion to Modify the Scheduling Order, Dkt. 434, at 5. On July 12, 2022,
  11   Plaintiffs filed a motion to compel production by the NFL of
  12                                                                                                            . Dkt.
  13   536. On July 22, 2022, the Court granted Plaintiffs’ motion to compel, ordering the
  14   NFL to produce
  15                                    within 15 days of the Order, Dkt. 553, i.e., by August 8, 2022,
  16   see Fed. R. Civ. P. 6(a)(1)(C).
  17           On July 15, 2022, Plaintiffs filed a motion before Judge Gutierrez for
  18   permission to take limited discovery after the August 5, 2022 deadline, including
  19   discovery related to
  20                        . Dkt. 545; Dkt. 547-1. The NFL Defendants’ response is due, and
  21   will be filed, by July 29, 2022. See Barber Declaration ¶ 7.
  22                     MEMORANDUM OF POINTS AND AUTHORITIES
  23           Courts deciding whether to stay the effects of a magistrate judge’s order
  24   pending resolution of objections thereto generally apply “the same four-factor test
  25   that applies to the stay of a district court order pending appellate review: (1) whether
  26   the movant has made a showing of likelihood of success on the merits; (2) whether
  27   the movant has made a showing of irreparable injury if the stay is not granted; (3)
  28   whether the granting of the stay would substantially harm the other parties; and (4)
                                                          2
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   1   whether the granting of the stay would serve the public interest.” See Alvarez, 2020
   2   WL 5632659, at *2 (collecting cases). All four factors weigh in favor of granting a
   3   stay here.
   4           First, the NFL has a likelihood of succeeding on the merits of its objections.
   5   Judge Gutierrez has ordered that August 5, 2022 is the cut-off date for all fact
   6   discovery in this action. As such, the Court’s July 22, 2022 Order requiring the
   7   production of documents and an additional fact deposition after August 5, 2022
   8   would require the NFL to violate Judge Gutierrez’s admonition that this cut-off date
   9   “is the date by which all discovery is to be completed.” Order for a Jury Trial,
  10   Dkt. 435, at 2 (emphasis in original); see also July 8, 2022 Order Regarding
  11   Depositions After Fact Discovery Cutoff, Dkt. 532, at 1 (ordering that, other than the
  12   depositions of certain specified fact witnesses “after the August 5, 2022 fact
  13   discovery cutoff, all remaining deadlines in this case shall remain unchanged”).
  14   Moreover, Plaintiffs are not entitled to additional, continuous supplementation of
  15   information with such limited relevance to this case.
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  18                                        .   And given the high commercial sensitivity of the
  19   documents and the extensive review process required to produce these documents,
  20   any additional production—particularly in this compressed timeframe—would be
  21   exceedingly burdensome on the NFL. See Barber Declaration, ¶¶ 5, 10. Because
  22   any duty to supplement discovery with ongoing, burdensome productions, as
  23   Plaintiffs request, does not “supersede the fact discovery cutoff as to developments
  24   thereafter,” the NFL has demonstrated the requisite likelihood of success on the
  25   merits of its objections. See Our Children’s Earth v. Leland Stanford Junior Univ.,
  26   2015 WL 12964638, at *3 (N.D. Cal. Oct. 29, 2015).
  27           Second, the NFL will be irreparably injured if a stay is not granted because
  28   enforcing compliance by the deadline set forth in the Court’s Order would moot the
                                                         3
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   1   NFL’s forthcoming objections thereto and preclude review by the district court. The
   2   Court should grant the stay to preserve the NFL’s right to obtain review. See Alvarez,
   3   2020 WL 5632659, at *2; Zargarian v. BMW of N. Am., LLC, 2019 WL 6111734, at
   4   *1 (C.D. Cal. Oct. 15, 2019) (staying “compliance with the Discovery Order until
   5   such time as the District Judge has ruled on defendant’s Motion for Review” because
   6   “to do otherwise would deny defendant of its right to have Local Rule 72 District
   7   Judge review of the Discovery Order”).
   8           Furthermore, compliance with the Court’s order would require multiple rounds
   9   of new custodial collections and review. Due to the extreme commercial sensitivity
  10   of                                                                                                     , all
  11   potentially responsive documents must go through multiple levels of attorney review
  12   during preparation for production. Barber Declaration, ¶ 5.
  13
  14
  15                                  . Id. For these reasons, though the NFL diligently prepared
  16   for production of the last set of documents
  17                     it collected on or around April 4, 2022, the documents were not ready
  18   for production until May 7, 2022. See id. ¶ 4. Particularly given the compressed
  19   deposition schedule in the forthcoming weeks—during which the parties are
  20   conducting depositions of eight witnesses—collecting, reviewing, and producing a
  21   new set of documents would be extremely burdensome by the deadline set forth in
  22   the Court’s Order. Id. ¶¶ 9–10. This level of burden would further injure the NFL if
  23   a stay were not granted.
  24           Third, Plaintiffs would experience no prejudice from such a stay. The deadline
  25   in the Court’s Order requires production by August 8, 2022, after the completion of
  26   all depositions of current NFL employees. As such, the production would not assist
  27   Plaintiffs’ preparation for these upcoming depositions.                        Furthermore, these
  28   documents have no relevance to the upcoming class certification briefing. And to
                                                        4
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   1   the extent Plaintiffs wish to use the documents during the merits stage, they would
   2   also experience no prejudice from a stay of the Court’s Order because opening merits
   3   expert reports are not due until January 6, 2023, see Dkt. 434, at 5, by which time
   4   Judge Gutierrez would have certainly resolved Plaintiffs’ pending motion extend the
   5   fact discovery deadline and the NFL’s forthcoming objections to the Court’s July 22
   6   Order. As such, a stay of the Order would impose no prejudice.
   7           Finally, staying the Order would serve the public interest by preserving the
   8   district court’s ability to review the Order, as contemplated by Federal Rule of Civil
   9   Procedure 72 and Local Rule 72-2.1.
  10           For the foregoing reasons, the NFL respectfully requests that its ex parte
  11   application be granted.
  12
  13   Dated: July 25, 2022                   Respectfully submitted,
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